Case 1:16-cv-00232-CKK   Document 126-1   Filed 02/01/21   Page 1 of 76




                         EXHIBIT A
   Case 1:16-cv-00232-CKK   Document 126-1     Filed 02/01/21   Page 2 of 76




                              APPRAISAL

                                   OF

           PRESENT VALUE OF ECONOMIC LIFE

                                   ON

                    NICHOLAS BAUMHOER




Prepared for:               Osen LLC
                            2 University Plaza, Suite 402
                            Hackensack, NJ 07601

Prepared by:                L. Wayne Plumly, Jr., Ph.D.
                            Consulting Economist
                            500 Knob Hill Road
                            Valdosta, Georgia 31602

Date:                       January 15, 2021
             Case 1:16-cv-00232-CKK          Document 126-1             Filed 02/01/21   Page 3 of 76

                                 L. Wayne Plumly, Jr., Ph.D.
                                     Economic Consultant and Expert Witness
                                             PROFESSOR OF Eco OMICS
                                                 DEAN EMERITUS
                                               500 Knob Hill Road
Plaintiff & Defendant                         Valdosta, Georgia 31602                             Cell (229) 251-6296
      Tort Cases                                                                                Office (229) 245-0178
                                                                                             lwplumly@valdosta.edu




                        January 15, 2021

                        Osen LLC
                        2 University Plaza, Suite 402
                        Hackensack, NJ 07601

                        Dear Attorney:

                        This report calculates the value of the Work Life of Nicholas
                        Baumhoer. If there are any questions about the calculations or the
                        concepts, please contact me.

                                                  CERTIFICATION

                        I hereby certify that I have no interest, present or contemplated, in
                        the above matter, and neither the employment to make the appraisal,
                        nor the compensation is contingent on the amount of the appraisal.

                        I certify that according to my beliefs and knowledge, all statements
                        and information in the Report are true and correct, subject to the
                        underlying assumptions.

                        Respectfully submitted,



                        L. Wayne
                        Consulting Economist




                                                             2
    Case 1:16-cv-00232-CKK          Document 126-1       Filed 02/01/21     Page 4 of 76


                                        EXHIBIT I
                                                                      Nicholas Baumhoer

                    Facts and Assumptions on which the Appraisal is Based

1.     This is the case of Specialist (SPC) Nicholas Baumhoer, a white male who was born in
Newburgh, Indiana on March 17, 1990 (1990.21). SPC Baumhoer entered the U.S. Army on
June 4, 2008 (2008.42). SPC Baumhoer was injured by an Explosively Formed Penetrator
(EFP) on April 27, 2010 (2010.32). SPC Baumhoer completed his active service on September
30, 2011 (2011.75). The current date for these calculations is assumed January 14, 2021
(2021.04). He was 30.83 years old at the time of this report.

2.      It is assumed that SPC Baumhoer will live the normal life expectancy years as an
average person according to the CDC, National Vital Statistics Reports, United States Life
Tables, 2017, Volume 68, Number 7, June 24, 2019 (EXHIBIT IV). An average 30.83-year-old
white male (date of this report) has a life expectancy of 78.73 years, an additional 47.90 years.
(EXHIBIT II). It is assumed that he will work to age 67, the age that he would be eligible for
full Social Security Retirement Benefits (2057.21). He has 36.17 years of work life remaining.

3.      Two sets of calculations were performed to assess the economic damages incurred due to
his injury (20-Year Military Career and Terminated Military Career).

20-Year Military Career

SPC Baumhoer had hoped to complete a 20-year career in the military. Post-military, he
planned to “live off of my military pension” (Declaration of Nicholas Baumhoer dated January
14, 2020, ¶ 3). His military pay, military pension, and health benefits are adjusted by federal
taxes, the state of Indiana’s income taxes, and his personal consumption expenditures.

In this scenario, SPC Baumhoer was assumed to achieve on-time promotion as outlined in
www.army-portal.com/pay-promotions (EXHIBIT III, Table C and EXHIBIT V). SPC
Baumhoer was earning $2,123.40 as an E-4 with 3.33 years of service. He was assumed to serve
in the Army for 20 years. His income for his remaining time in the military (2011 - 2028) was
taken from www.militarypay.com (EXHIBIT VI).

SPC Baumhoer was assumed to remain in the military for 20 years making him eligible for a
military pension. His retired pay base is the average of the highest 36 months of basic pay
multiplied by 50% (20 years * multiplier of 2.5) (EXHIBIT VII). His average 36-month basic
pay would have been $3,122.03 which is $37,464.37 annually (EXHIBIT III, Table D). Military
pensions are annually adjusted (COLA) by the percent change in the Consumer Price Index
(CPI). His military pension was adjusted by the average annual percent change in the CPI from
2000 – 2019, 2.165%, Bureau of Labor Statistics (EXHIBIT VIII).

Terminated Military Career

Instead of completing his 20 years of service, Nicholas Baumhoer completed his active duty
service on September 30, 2011, having lost hearing and vision as a result of his attack, as well as
being diagnosed with a mild TBI (Declaration of Nicholas Baumhoer dated January 14, 2020,
¶¶ 7, 13).
                                                 3
    Case 1:16-cv-00232-CKK         Document 126-1       Filed 02/01/21    Page 5 of 76


                              EXHIBIT I…continued
He joined the National Guard to finish up his Army contract and was also employed in the
civilian sector performing several distinct jobs from 2011-2020 (Id., ¶¶ 14-19).

He completed his service with the National Guard in August 2015, from which he received
monthly paychecks in the amount of about $300 (Id., ¶ 14). He then worked at a T.J. Maxx
warehouse, earning $9.50/hour/40 hours a week (Id., ¶ 15). Between 2012-2018, he worked at
work at Fluid Systems repairing oil pumps. He started at $12/hour/40 hours a week and
gradually increased until he earned about $16/hour/40 hours (Id., ¶ 16). In 2018, the oil
business slowed and he was laid off (Id., ¶ 17). He began work grinding plastic at Jamplast in
Mount Vernon, Indiana, earning about $15/hour. He earned about $35,000 in 2019 and $4,800
in 2020 (January – March, 2020). (Id., ¶ 18.) He and his wife started a pet business, boarding
and walking dogs, on January 1, 2020. He earned about $1,800 a month in 2020 (Id., ¶ 19). It is
assumed that he will continue in this pet business until retirement age of 67. His civilian
earnings, civilian retirement benefits, health benefits, and National Guard earnings are
adjusted by federal taxes, the state of Indiana’s income taxes, and his personal consumption
expenditures.

His future lost income (from 2020 on) in the civilian sector was adjusted by the average annual
percent change in the hourly wages of production and nonsupervisory employees from 2000 –
2019, 2.815%, Bureau of Labor Statistics (EXHIBIT IX).

The difference between the two calculations (20-Year Military Career – Terminated Military
Career) is the economic impact (loss) of the injury.

4.      All income figures were adjusted for taxes. Taxes included federal and state. The source
for the Federal Average Tax Rate was Tax Policy Center, Brookings Institute,
https://www.taxpolicycenter.org/statistics/historical-average-federal-tax-rates-all-households
(EXHIBIT X), and Household Income Quintiles,
https://www.taxpolicycenter.org/statistics/household-income-quintiles (EXHIBIT XI). The
State of Indiana has a flat state income tax (EXHIBIT XII). The combined effective tax rate
ranged from 3.83% to 21.13% (EXHIBIT III, Table F and Table F-1).

5.      In the analysis of wrongful injury cases, personal consumption expenditures (goods and
services used exclusively for the benefit of the injured person) must be deducted from the
probable earnings of the injured person. These personal consumption expenditures would not
benefit or give rise to asset accumulation in the household. The percentage of income allocated
to personal consumption of the individual depends on household size and income level. SPC
Baumhoer is married with two children, a stepson born February 2, 2010 and a son born
November 22, 2013 (Declaration of Nicholas Baumhoer dated January 14, 2020, ¶ 20). It is
assumed that they will remain in the household until age 18. Consumption by Household
Members by Number of Persons and Income Level, Consumer Expenditure Survey (CEX),
http://stats.bls.gov/cex/home.htm#tables , was used for adjusting income for personal
consumption expenditures (EXHIBIT XIII). Utilizing the CEX data, earnings were adjusted
(reduced) by personal consumption expenditures ranging from 12.3% to 29.0% depending on
marital status and income level (EXHIBIT III, Table G and Table G-1).


                                               4
     Case 1:16-cv-00232-CKK        Document 126-1       Filed 02/01/21     Page 6 of 76


                              EXHIBIT I…continued
6.    Total Compensation is the summation of actual wages paid and the value of fringe
benefits. Fringe benefits include paid leave, supplemental pay, life and health insurance,
retirement and savings, and legally required benefits. Of these benefits, retirement/savings and
health insurance were included. These benefits were calculated by using Table 1 Civilian
Workers, Employer Costs for Employee Compensation, June 2019 (EXHIBIT XIV) Bureau of
Labor Statistics, U.S. Department of Labor. Retirement and savings represent an average of
5.3% of total compensation or 7.72% of wages. Health Insurance represent an average of
8.3% of total compensation or 12.1% of wages. Retirement/savings were not calculated as lost
during the years he would have served in the military.

7.      Net Annual Income is the summation of income, retirement/savings contributions, and
health insurance contributions adjusted by taxes and personal consumption expenditures. Net
Annual Income is divided into lost past value, the date that SPC Baumhoer left active duty
(2011.75) to the current date (2021.04), and future lost present value, the current date (2021.04)
to the date of his life expectancy (2068.94). Two sets of calculations have been provided: 1) past
Net Annual Income is not adjusted to present value and future Net Annual Income is adjusted
to present value; and 2) past Net Annual Income is adjusted to present value (EXHIBIT III,
Table H and Table H-1) and future Net Annual Income is adjusted to present value. The
adjustment rate used for both past and future present value calculations (EXHIBIT III, Table
B) is 2.10%, the average yield of high-grade municipal bonds in September 2020 (EXHIBIT
XV). Data retrieved from U.S. Department of the Treasury.

8.     List of documents used in this analysis:
          A) Declaration of Nicholas Baumhoer dated January 14, 2021,
          B) United States Life Tables, 2017, National Vital Statistics Report, U.S.
               Department of Health and Human Services,
          C) Military Pay Charts, www.militarypay.com,
          D) Bureau of Labor Statistics, percent changes in wages & prices, www.bls.gov,
          E) Retired Pay, www.militarypay.defense.gov/Pay/Retirement,
          F) Average Federal Tax Rates for All Households, by Comprehensive Household
               Income by Quintile, 1979 – 2016, Tax Policy Center, Brookings Institution,
          G) Household Income Distributions, 1969-2018, Tax Policy Center, Brookings
               Institution,
          H) Consumer Expenditure Survey (CEX), Bureau of Labor Statistics,
          I) Employer Costs for Employee Compensation, Bureau of Labor Statistics,
          J) Yields of High-grade Municipal Bonds, U.S. Department of the Treasury,
          K) Army’s Enlisted Ranks and Promotion Requirements, www.army-
               portal.com/pay-promotions,
          L) Retirement Bulletin, Social Security Administration, January 1992,
          M) “State Individual Income Tax Rates and Brackets for 2020”
               www.taxfoundation.org, and
          N) Record of Military Processing, Armed Forces of the United States.

      These sources of government data are typically relied upon by economists as unbiased
and accurate estimates.



                                                5
    Case 1:16-cv-00232-CKK        Document 126-1       Filed 02/01/21    Page 7 of 76


                              EXHIBIT I…continued

9.     In summary, as outlined in EXHIBIT III, Table A, the 20-Year Military Career
economic value calculation (past net annual income plus the present value future net annual
income) is $1,422,407.02. The economic value adjusting past net annual income to present value
(present value of past net annual income plus the present value future net annual income) is
$1,443,920.76.

       In summary, as outlined in EXHIBIT III, Table A, the Terminated Military Career
economic value calculation (past net annual income plus the present value future net annual
income) is $725,921.40. The economic value adjusting past net annual income to present value
(present value of past net annual income plus the present value future net annual income) is
$744,925.29.

       The difference between the two calculations (20-Year Military Career – Terminated
Military Career) is the economic impact (loss) of the injury. This economic value calculation
(past net annual income plus the present value future net annual income) is $696,485.62. The
economic value adjusting past net annual income to present value (present value of past net
annual income plus the present value future net annual income) is $698,995.47.

       10.    These estimates do not include any calculations for non-market work, pain and
suffering, and other non-economic damages.




                                               6
     Case 1:16-cv-00232-CKK     Document 126-1    Filed 02/01/21    Page 8 of 76


                                   EXHIBIT II
                                                         Nicholas Baumhoer

                                Life/Work Expectancy Table


                                                  Year And
                                                  Fractional Number of
                                    Date          Equivalent Years     Age


1.    Birth Date:               March 17, 1990       1990.21

2.    Date of Injury:            April 27, 2010     2010.32                20.11

3.    Current Date:           January 14, 2021      2021.04

4.    Date of Military Entry:      June 4, 2008     2008.42                18.21

5.    Life Expectancy: (1)                           2068.94       47.90   78.73
      (Calculated from date of death)

6.    Years of Work Life Remaining: (2)              2057.21       36.17   67.00
      (Calculated from date of death)

7.    Date of Military Retirement:                   2028.42               38.21

_____________________________________

Note (1): United States Life Tables, 2017, National Vital Statistics Report, U.S.
Department of Health and Human Services.

Note (2): Retirement Bulletin, Social Security Administration, January 1992.




                                           7
   Case 1:16-cv-00232-CKK   Document 126-1   Filed 02/01/21   Page 9 of 76


                               EXHIBIT III

                                                    Nicholas Baumhoer


Table A.   Summary of Facts, Assumptions, and Net Income

Table B.   Calculation: Value of Net Annual Income (20-Year Military Career)

Table C.   Baumhoer Active-Duty Military Pay Scale

Table D.   Calculation of Military Pension - Baumhoer

Table E.   Military Pension, and Fringe Benefits

Table F.   Tax Calculations for Baumhoer (20-Year Military Career)

Table G.   Personal Consumption Calculation for Baumhoer (20-Year Military
Career)

Table H.   Calculation PV of Past Net Annual Income (20-Year Military Career)

Table B-1 Calculation: Value of Net Annual Income (Terminated Military
Career)

Table F–1 Tax Calculations for Baumhoer (Terminated Military Career)

Table G-1 Personal Consumption Calculation Baumhoer (Terminated Military
Career)

Table H–1 Calculation PV of Past Net Annual Income (Terminated Military
Career)




                                       8
          Case 1:16-cv-00232-CKK                   Document 126-1       Filed 02/01/21      Page 10 of 76


                                               TABLE A

                       Summary of Facts, Assumptions, and Net Income

                                          Nicholas Baumhoer



Date of Birth                                       17-Mar-90
Age when Injured                                    27-Apr-10
Life Expectancy                                          78.73
Remining Life Expectancy                                  47.9
Race                                                     White
Gender                                                    Male
Marital Status                                         Married
Entered Service                                       4-Jun-08
Worklife Expectancy                                      36.17
Military Retirement                                   4-Jun-28
High School                                                 yes
College                                                      no
Career Aspirations                                     Military
Military Grade                                              E-4
Basic Pay 2011                            $          2,123.40
Social Security Eligible                                     67

                                                Table B
Net Income (20-Year Military Career)
Past Net Annual Income                    $        277,119.17 PV Past Net Annual Income      $ 298,632.91
PV Future Annual Net Income               $      1,145,287.85 PV Future Annual Net Income    $1,145,287.85
Total:                                    $      1,422,407.02 Total:                         $ 1,443,920.76

                                               Table B -1
Net Income (Terminated Military Career)
Past Net Annual Income                    $        216,716.53 PV Past Net Annual Income      $ 235,720.42
PV Future Annual Net Income               $        509,204.87 PV Future Annual Net Income    $ 509,204.87
Total:                                    $        725,921.40 Total:                         $ 744,925.29

Difference                      $                  696,485.62                                $ 698,995.47
(20-Year Military vs Terminated
Military)
            Case 1:16-cv-00232-CKK                                 Document 126-1                       Filed 02/01/21                  Page 11 of 76

Nicholas Baumhoer                                                           TABLE B
                                                    Calculation: Value of Net Income (20-Year Military Career)


                                                  Civilian                                                              Personal      Net
                                     Civilian   Retirement        Health     Military                       Tax       Consumption   Annual              Summary of
  Year   Age        Basic Pay        Earnings    Benefits        Benefits    Pension         Total      Adjustment    Expenditures  Income        Total Net Annual Income
 2011     22   $      6,370.20   $              $              $ 770.79     $             $  7,140.99    $ 696.26      $ 2,035.18 $ 4,409.55
 2012     23   $     29,851.20   $              $              $ 3,612.00   $             $ 33,463.20   $ 3,262.74     $ 9,537.01 $ 20,663.45
 2013     24   $     30,354.00   $              $              $ 3,672.83   $             $ 34,026.83   $ 3,955.13     $ 7,622.01 $ 22,449.70
 2014    25    $     32,814.00   $              $              $ 3,970.49   $             $ 36,784.49   $ 4,013.15    $ 8,239.73 $ 24,531.62
 2015     26   $     35,935.20   $              $              $ 4,348.16   $             $ 40,283.36   $ 4,466.75    $ 8,056.67 $ 27,759.94
 2016    27    $     39,639.60   $              $         -    $ 4,796.39   $             $ 44,435.99   $ 5,006.48    $ 8,887.20 $ 30,542.31
 2017     28   $     40,471.20   $              $         -    $ 4,897.02   $             $ 45,368.22   $ 5,111.51    $ 9,073.64 $ 31,183.06
 2018    29    $     47,620.80   $              $              $ 5,762.12   $             $ 53,382.92   $ 6,014.51    $ 9,822.46 $ 37,545.95
 2019    30    $     48,859.20   $              $              $ 5,911.96   $             $ 54,771.16   $ 6,170.92    $ 10,077.89 $ 38,522.35 Past Net Annual Income =
 2020    31    $     53,146.80   $              $              $ 6,430.76   $             $ 59,577.56   $ 9,104.05    $ 10,962.27 $ 39,511.24 $                    277,119.17
 2021    32    $     54,421.20   $              $              $ 6,584.97   $             $ 61,006.17   $ 9,322.35    $ 11,225.13 $ 40,458.68
 2022     33   $     62,253.60   $              $              $ 7,532.69   $             $ 69,786.29   $ 10,664.04   $ 12,840.68 $ 46,281.57 PVof Past Net Annual Income =
 2023     34   $     63,747.60   $              $              $ 7,713.46   $             $ 71,461.06   $ 10,919.96   $ 8,789.71 $ 51,751.39 $                     298,632.91
 2024     35   $     67,383.60   $              $              $ 8,153.42   $             $ 75,537.02   $ 11,542.81   $ 9,291.05 $ 54,703.15
 2025     36   $     69,000.00   $              $         -    $ 8,349.00   $             $ 77,349.00   $ 11,819.70   $ 9,513.93 $ 56,015.37
 2026     37   $     74,630.40   $              $         -    $ 9,030.28   $             $ 83,660.68   $ 12,784.19   $ 10,290.26 $ 60,586.23
 2027     38   $     76,420.80   $              $              $ 9,246.92   $             $ 85,667.72   $ 13,090.88   $ 10,537.13 $ 62,039.70
 2028     39   $     33,752.88   $              $              $ 4,084.10   $21,729.33    $ 59,566.31   $ 9,504.10    $ 7,326.66 $ 42,735.55 PVof Future
 2029     40   $                 $              $              $            $38,275.47    $ 38,275.47   $ 4,834.19    $ 10,908.51 $ 22,532.77 Annual Net Income =
 2030     41   $                 $              $              $            $39,104.13    $ 39,104.13   $ 4,938.85    $ 11,144.68 $ 23,020.60 $                  1,145,287.85
 2031     42   $                 s              $              s            $39,950.74    s 39,950.74   s  5,045.78   $ 11,385.96  s23,519.00
 2032     43   s                 s              s              s            $40,815.67    s 40,815.67   $ 5,155.02    $ 11,510.02 $ 24,150.63
 2033     44   $                 s              $              s            $41,699.33    s 41,699.33   $ 5,266.63    $ 11,759.21 $ 24,673.49 Total Annual Net Income=
 2034     45   $                 $              $              $            $42,602.12    $ 42,602.12   $ 5,380.65    $ 12,013.80 $ 25,207.68 $                  1,422,407.02
 2035     46   s                 $              s              $            $43,524.46    s 43,524.46   $ 5,497.14    $ 12,273.90 $ 25,753.42
 2036     47   $                 s              $              s            $44,466.76    $ 44,466.76   $ 5,616.15    $ 12,539.63 $ 26,310.98 PV (Past & Future) of
 2037     48   $                 $              $              $            $45,429.47    $ 45,429.47   $ 5,737.74    $ 12,811.11 $ 26,880.62 Total Annual Net Income=
 2038     49   $                 s              s              $            $46,413.02    $ 46,413.02   $ 5,861.96    $ 13,088.47 $ 27,462.58 $                  1,443,920.76
 2039     so   $                 $              $              $            $47,417.86    $ 47,417.86   s  5,988.88   $ 13,371.84  s28,057.15
 2040     51   $                 $              $              $            $48,444.45    $ 48,444.45   s  6,118.53   $ 13,661.34  s28,664.58
 2041     52   $                 s              $              $      -     $49,493.28    $ 49,493.28   s  6,251.00   $ 13,957.10 $ 29,285.17
 2042     53   $                 s              $              $            $50,564.81    $ 50,564.81   $ 8,661.75    $ 12,438.94 $ 29,464.11
 2043     54   $                 $              $              $            $51,659.53    $ 51,659.53   $ 8,849.28    $ 12,708.25 $ 30,102.01
 2044     55   $                 $              $              $            $52,777.96    $ 52,777.96   $ 9,040.87    $ 12,983.38 $ 30,753.72
 2045     56   s                 s              $              $            $53,920.61    s 53,920.61   s  9,236.60   $ 13,264.47  s31,419.54
 2046     57   s                 $              s              s            $55,087.99    s 55,087.99   s  9,436.57   $ 13,551.64 $ 32,099.77
 2047     58   s                 s              s              s            $56,280.64    s 56,280.64   s  9,640.87   $ 13,845.04  s32,794.73
 2048     59   $                 s              $              $            $57,499.12    $ 57,499.12   $ 9,849.60    $ 14,144.78 $ 33,504.74
 2049     60   $                 $              $              $            $58,743.97    $ 58,743.97   $ 10,062.84   $ 14,451.02 $ 34,230.11
 2050     61   $                 $              $              $            $60,015.78    $ 60,015.78   $ 10,280.70   $ 14,763.88 $ 34,971.20
 2051     62   $                 $              $              $            $61,315.12    $ 61,315.12   $ 10,503.28   $ 15,083.52 $ 35,728.32
 2052     63   $                 $              $              $            $62,642.59    $ 62,642.59   $ 10,730.68   $ 15,410.08 $ 36,501.84
 2053     64   $                 $              $              $            $63,998.81    $ 63,998.81   $ 10,963.00   $ 15,743.71 $ 37,292.10
 2054     65   $                 $              $              $            $65,384.38    $ 65,384.38   $ 11,200.34   $ 16,084.56 $ 38,099.48
 2055     66   $                 $              $              $            $66,799.95    $ 66,799.95   $ 11,442.83   $ 16,432.79 $ 38,924.33
 2056     67   $                 $              $              $            $68,246.17    $ 68,246.17   $ 11,690.57   $ 16,788.56 $ 39,767.04
 2057     68   $                 $              $              $            $69,723.70    $ 69,723.70   $ 11,943.67   $ 17,152.03 $ 40,628.00
 2058     69   $                 s              s              s            $71,233.22    s 71,233.22   $ 12,202.25   $ 12,821.98 $ 46,208.99
 2059     70   s                 $              $              s            $72,775.42    s 72,775.42   $ 12,466.43   $ 13,099.58 $ 47,209.41
 2060     71   s                 $              $              $            $74,351.01    $ 74,351.01   $ 12,736.33   $ 13,383.18 $ 48,231.50
 2061     72   s                 $              $              $            $75,960.71    $ 75,960.71   $ 13,012.07   $ 13,672.93  s49,275.71
 2062     73   s                 $              $              $            $77,605.26    $ 77,605.26   $ 13,293.78   $ 13,968.95 $ 50,342.53
 2063     74   $                 $              $              $            $79,285.41    $ 79,285.41   $ 13,581.59   $ 14,271.37 $ 51,432.44
 2064     75   $                 s              s              s            $ 81,001.94   s 81,001.94   $ 17,115.71   $ 14,580.35 $ 49,305.88
 2065     76   s                 $              $              s            $ 82,755.63   s 82,755.63   $ 17,486.26   $ 14,896.01  s50,373.35
 2066     77   s                 s              $              s            $84,547.29    $ 84,547.29   $ 17,864.84   $ 15,218.51  s51,463.94
 2067     78   $                 $              $              s            $86,377.74    $ 86,377.74   $ 18,251.62   $ 15,547.99 $ 52,578.13
 2068     79   s                 s              $              $            $82,952.95    $ 82,952.95   $ 17,527.96   $ 14,931.53 $ 50,493.46
       Case 1:16-cv-00232-CKK           Document 126-1          Filed 02/01/21      Page 12 of 76


                             Table C


         Baumhoer Active Duty Military Pay Schedule


           Age                Service        Basic           Annual
Year     Rounded      Rank   Rounded          Pay             Pay
  2011           22   E-4       3        $   2,123.40    $     6,370.20    $25,480.80
  2012           23   E-5       4        $   2,487 .60   $    29,851.20
  2013           24   E-5       5        $   2,529 .50   $    30,354.00
  2014           25   E-5       6        $   2,734.50    $    32,814.00
  2015           26   E-6       7        $   2,994.60    $    35,935.20
  2016           27   E-6       8        $   3,303.30    $    39,639.60
  2017           28   E-6       9        $   3,372.60    $    40,471.20
  2018           29   E-7       10       $   3,968.40    $    47,620.80
  2019           30   E-7       11       $   4,071 .60   $    48,859.20
  2020           31   E-7       12       $   4,428.90    $    53,146.80
  2021           32   E-7       13       $   4,535.10    $    54,421.20
  2022           33   E-8       14       $   5,187.80    $    62,253.60
  2023           34   E-8       15       $   5,312.30    $    63,747 .60
  2024           35   E-8       16       $   5,615.30    $    67,383.60
  2025           36   E-8       17       $   5,750.00    $    69,000.00
  2026           37   E-8       18       $   6,219.20    $    74,630.40
  2027           38   E-8       19       $   6,368.40    $    76,420.80
  2028           39   E-8       20       $   6,697.00    $    33,752.88    $80,364.00
  Case 1:16-cv-00232-CKK             Document 126-1            Filed 02/01/21   Page 13 of 76


                      TABLED

       Calculation of Military Pension - Baumhoer


                Basic Pay           Months         Gross
2025    $               5,750.00              7 $ 40,250.00
2026    $               6,219 .20            12 $ 74,630.40
2027    $               6,368.40             12 $ 76,420.80
2028    $               6,697 .00             5 $ 33,485.00
       Total=                                36 $224,786.20

       Retired Basic Pay                        $   6,244.06

       20 years of service*2.5=                          0.5

       Gross Retired Pay=                       $   3,122.03

       Annual Retired Pay=                      $ 37,464.37
        Case 1:16-cv-00232-CKK           Document 126-1   Filed 02/01/21   Page 14 of 76


                         TABLE E


           Military Pension, and Fringe Benefits



Retirement & Savings
                  Jun-19 $              1.94
Wage=                                  25 .12
Percent of wages =                    0.0772

Health Benefits
                  Jun -19 $            3.04
Wage=                                  25.12
Percent of wages =                     0.121

Military Annual Pension $          37,464.37
     Case 1:16-cv-00232-CKK                      Document 126-1              Filed 02/01/21   Page 15 of 76

                                  TABLE F

                      Tax Calculation for Baumhoer


                       Income     Federal   Indiana   Total       Tax
    Taxable Income     Quintile    ATR        Tax     Taxes    Adjustment
2011 $    6,370.20       2nd        7.7       3.23    10.93    $   696.26
2012 $   29,851.20       2nd        7.7       3.23    10.93    $ 3,262.74
2013 $   30,354.00       2nd        9.8       3.23    13.03    $ 3,955 .13
2014 $   32,814.00       2nd         9        3.23    12.23    $ 4,013 .15
2015 $   35,935.20       2nd        9.2       3.23    12.43    $ 4,466.75
2016 $   39,639.60       2nd        9.4       3.23    12.63    $ 5,006.48
2017 $   40,471.20       2nd        9.4       3.23    12.63    $ 5,111.51
2018 $   47,620.80       2nd        9.4       3.23    12.63    $ 6,014.51
2019 $   48,859.20       2nd        9.4       3.23    12.63    $ 6,170.92
2020 $   53,146.80       3rd       13.9       3.23    17.13    $ 9,104.05
2021 $   54,421.20       3rd       13.9       3.23    17.13    $ 9,322.35
2022 $   62,253.60       3rd       13.9       3.23    17.13    $10,664.04
2023 $   63,747.60       3rd       13.9       3.23    17.13    $10,919.96
2024 $   67,383.60       3rd       13.9       3.23    17.13    $11,542 .81
2025 $   69,000.00       3rd       13.9       3.23    17.13    $11,819.70
2026 $   74,630.40       3rd       13.9       3.23    17.13    $12,784.19
2027 $   76,420.80       3rd       13.9       3.23    17.13    $13,090.88
2028 $   55,482.21       3rd       13.9       3.23    17.13    $ 9,504.10
2029 $   38,275.47       2nd        9.4       3.23    12.63    $ 4,834.19
2030 $   39,104.13       2nd        9.4       3.23    12.63    $ 4,938.85
2031 $   39,950.74       2nd        9.4       3.23    12.63    $ 5,045.78
2032 $   40,815.67       2nd        9.4       3.23    12.63    $ 5,155.02
2033 $   41,699.33       2nd        9.4       3.23    12.63    $ 5,266.63
2034 $   42,602 .12      2nd        9.4       3.23    12.63    $ 5,380.65
2035 $   43,524.46       2nd        9.4       3.23    12.63    $ 5,497 .14
2036 $   44,466.76       2nd        9.4       3.23    12.63    $ 5,616.15
2037 $   45,429.47       2nd        9.4       3.23    12.63    $ 5,737.74
2038 $   46,413.02       2nd        9.4       3.23    12.63    $ 5,861.96
2039 $   47,417.86       2nd        9.4       3.23    12.63    $ 5,988.88
2040 $   48,444.45       2nd        9.4       3.23    12.63    $ 6,118.53
2041 $   49,493.28       2nd        9.4       3.23    12.63    $ 6,251.00
2042 $   50,564.81       3rd       13.9       3.23    17.13    $ 8,661.75
2043 $   51,659.53       3rd       13.9       3.23    17.13    $ 8,849.28
2044 $   52,777.96       3rd       13.9       3.23    17.13    $ 9,040.87
2045 $   53,920.61       3rd       13.9       3.23    17.13    $ 9,236.60
2046 $   55,087.99       3rd       13.9       3.23    17.13    $ 9,436.57
2047 $   56,280.64       3rd       13.9       3.23    17.13    $ 9,640.87
2048 $   57,499.12       3rd       13.9       3.23    17.13    $ 9,849.60
2049 $   58,743 .97      3rd       13.9       3.23    17.13    $10,062.84
2050 $   60,015 .78      3rd       13.9       3.23    17.13    $10,280.70
2051 $   61,315 .12      3rd       13.9       3.23    17.13    $10,503.28
2052 $   62,642.59       3rd       13.9       3.23    17.13    $10,730.68
2053 $   63,998.81       3rd       13.9       3.23    17.13    $10,963.00
2054 $   65,384.38       3rd       13.9       3.23    17.13    $11,200.34
2055 $   66,799.95       3rd       13.9       3.23    17.13    $11,442.83
2056 $   68,246.17       3rd       13.9       3.23    17.13    $11,690.57
2057 $   69,723 .70      3rd       13.9       3.23    17.13    $11,943.67
2058 $   71,233 .22      3rd       13.9       3.23    17.13    $12,202.25
2059 $   72,775.42       3rd       13.9       3.23    17.13    $12,466.43
2060 $   74,351.01       3rd       13.9       3.23    17.13    $12,736.33
2061 $   75,960.71       3rd       13.9       3.23    17.13    $13,012.07
2062 $   77,605 .26      3rd       13.9       3.23    17.13    $13,293.78
2063 $   79,285 .41      3rd       13.9       3.23    17.13    $13,581 .59
2064 $   81,001.94       4th       17.9       3.23    21.13    $17,115.71
2065 $   82,755.63       4th       17.9       3.23    21.13    $17,486.26
2066 $   84, 547.29      4th       17.9       3.23    21 .13   $17,864.84
2067 $   86,377.74       4th       17.9       3.23    21.13    $18,251 .62
2068 $   82,952 .95      4th       17.9       3.23    21.13    $17,527.96
           Case 1:16-cv-00232-CKK                         Document 126-1       Filed 02/01/21   Page 16 of 76

                       TABLE G

        Personal Consumption Calculation for Buamhoer


                                        Personal
                       Health &       Consumption Consumption Children's
          Age     Taxable Income      Percentages   Adjustment        Age
2011       22     $       7,140.99        28.5      $ 2,035.18
2012       23     $     33,463.20         28.5      $ 9,537.01
2013       24     $     34,026.83         22.4      $ 7,6 22.01 Son Born
2014       25     $     36,784.49         22.4      $ 8,239.73
2015       26     $     40,283.36          20       $ 8,056.67
2016       27     $     44,435.99          20       $ 8,887.20
2017       28     $     45,368.22          20       $ 9,073.64
2018       29     $     53,382.92         18.4      $ 9,822.46
2019       30     $     54,771.16         18.4      $ 10,077.89
2020       31     $     59,577.56         18.4      $ 10,962.27
2021       32     $     61,006.17         18.4      $ 11,225.13
2022       33     $     69,786.29         18.4      $ 12,840.68
2023       34     $     71,461.06         12.3      $ 8,789.71
2024       35     $     75,537.02         12.3      $   9,291.05
2025       36     $     77,349.00         12.3      $   9,513.93
2026       37     $     83,660.68         12 .3     $ 10,290.26
2027       38     $     85,667.72         12.3      $ 10,537.13
2028       39     $     59,566.31         12 .3     $ 7,326.66      SS - 18
2029       40     $     38,275.47         28.5      $ 10,908.51
2030       41     $     39,104.13         28.5      $ 11,144.68
2031       42     $     39,950.74         28.5      $ 11,385.96     Son - 18
2032       43     $     40,815 .67        28.2      $ 11,510.02
2033       44     $     41,699.33         28.2      $ 11,759.21
2034       45     $     42,602.12         28.2      $ 12,013.80
2035       46     $     43,524.46         28.2      $ 12,273.90
2036       47     $     44,466.76         28.2      $ 12,539.63
2037       48     $     45,429.47         28.2      $ 12,811 .11
2038       49     $     46,413.02         28.2      $ 13,088.47
2039       50     $     47,417.86         28.2      $ 13,371.84
2040       51     $     48,444.45         28.2      $ 13,661.34
2041       52     $     49,493.28         28.2      $ 13,957.10
2042       53     $     50,564.81         24.6      $ 12,438.94
2043       54     $     51,659.53         24.6      $ 12,708.25
2044       55     $     52,777.96         24.6      $ 12,983.38
2045       56     $     53,920.61         24.6      $ 13,264.47
2046       57     $     55,087.99         24.6      $ 13,551.64
2047       58     $     56,280.64         24.6      $ 13,845.04
2048       59     $     57,499.12         24.6      $ 14,144.78
2049       60     $     58,743.97         24.6      $ 14,451.02
2050       61     $     60,015.78         24.6      $ 14,763.88
2051       62     $     61,315.12         24.6      $ 15,083.5 2
2052       63     $     62,642.59         24.6      $ 15,410.08
2053       64     $     63,998.81         24.6      $ 15,743.71
2054       65     $     65,384.38         24.6      $ 16,084.56
2055       66     $     66,799.95         24.6      $ 16,432.79
2056       67     $     68,246.17         24.6      $ 16,788.56
2057       68     $     69,723.70         24.6      $ 17,152.03
2058       69     $     71,233 .22         18       $ 12,821.98
2059       70     $     72,775.42          18       $ 13,099.58
2060       71     $     74,351.01          18       $ 13,383.18
2061       72     $     75,960.71          18       $ 13,672.93
2062       73      $    77,605.26          18       $ 13,968.95
2063       74      $    79,285.41          18       $ 14,271 .37
 2064       75     $     81,001.94          18       s 14,580.35
 2065       76     $     82,755.63          18      $ 14,896.01
 2066       77     $     84,547 .29         18      $ 15,218.51
 2067       78     $     86,377.74          18       $ 15,547 .99
 2068       79     $     82,952 .95         18       $ 14,931.53
        Case 1:16-cv-00232-CKK           Document 126-1   Filed 02/01/21   Page 17 of 76


           TABLE H


Calculation PV of Past Net Annual Loss


            Past Net         Present
             Annual         Value of
 Year         Loss          Past Lost
 2011     $ 4,409.55     $   5,316.50
 2012     $ 20,663.45    $ 24,401.06
 2013     $ 22,449.70    $ 25,965 .14
 2014     $ 24,531.62    $ 27,789.49
 2015     $ 27,759.94    $ 30,799.76
 2016     $ 30,542.31    $ 33,189.82
 2017     $ 31,183.06    $ 33,189.14
 2018     $ 37,545.95    $ 39,139.44
 2019     $ 38,522.35    $ 39,33 1.32
 2020     $ 39,511.24    $ 39,511.24
Sum=      $ 277,119.17   $ 298,632.91
            Case 1:16-cv-00232-CKK                                 Document 126-1                    Filed 02/01/21                   Page 18 of 76

Nicholas Baumhoer                                                    TABLE B-1
                                          Calculation: Value of Net Income (Terminated Military Career)


                                   Civilian                                                                     Personal            Net
                    CivilianRetirement              Health         National                        Tax        Consumption         Annual            Summary of
  Year    Age       Earnings  Benefits             Benefits         Guard          Total       Adjustment     Expenditures        Income      Total Net Annual Income
  2011     22   $ 4,940.00 $     381.37        $      597.74   $      828.28   $ 6,747.39      $    235.53    $    1,956.74   $ 4,555.11
  2012     23   $ 23,660.00 $ 1,826.55         $    2,862.86   $    3,419.14   $ 31,768.55     $ 3,159.39     $    9,212.88   $ 19,396.28
  2013     24   $ 24,960.00 $ 1,926.91         $    3,020.16   $    3,490.94   $ 33,398.01     $   3,745.59   $    9,151.06   $ 20,501.37
  2014     25   $ 27,040.00 $ 2,087.49         $    3,271.84   $    3,543.31   $ 35,942.64     $   3,995.64   $    8,051.15   $ 23,895.85
  2015     26   $ 29,120.00 $ 2,248.06         $    3,523.52   $    2,400.00   $ 37,291.58     $   4,197.37   $    8,353.31   $ 24,740.90
  2016     27   $ 31,200.00 $ 2,408.64         $    3,775.20                   $ 37,383.84     $   4,244.77   $    8,373.98   $ 24,765.09
  2017     28   $ 31,200.00 $ 2,408.64         $    3,775.20                   $ 37,383.84     $   4,244.77   $    8,373.98   $ 24,765.09
  2018     29   $ 33,280.00 $ 2,569.22         $    4,026.88                   $ 39,876.10     $   4,527.76   $    8,932.25   $ 26,416.09
  2019     30   $ 35,000.00 $ 2,702.00         $    4,235.00                   $ 41,937.00     $   4,761.76   $    8,387.40   $ 28,787.84 Past Net Annual Income=
  2020     31   $ 22,800.00 $ 1,760.16         $    2,758.80                   $ 27,318.96     $     940.65   $    7,485.40   $ 18,892.91 $                   216,716.53
  2021     32   $ 21,600.00 $    366.85        $      574.99                   $ 22,541.85     $     841.33   $    6,176.47   $ 15,524.05
  2022     33   $ 22,208.04 $                  $                               $ 22,208.04     $     850.57   $    6,085.00   $ 15,272.47 PV of Lost Past Net Income=
  2023     34   $ 22,833.20 $        -         $                               $ 22,833.20     $     874.51   $    6,256.30   $ 15,702.39 $                   235,720.42
  2024     35   $ 23,475.95 $                  $                               $ 23,475.95     $     899.13   $    6,432.41   $ 16,144.41
  2025     36   $ 24,136.80 $        -         $                               $ 24,136.80     $     924.44   $    6,613.48   $ 16,598.88
  2026     37   $ 24,816.25 $                  $                               $ 24,816.25     $     950.46   $    6,799.65   $ 17,066.13
  2027     38   $ 25,514.83 $                  $                               $ 25,514.83     $     977.22   $    6,991.06   $ 17,546.55
  2028     39   $ 26,233.07 $                  $                               $ 26,233.07     $   3,313.24   $    7,187.86   $ 15,731.97 PV of Future
  2029     40   $ 26,971.53 $                  $                               $ 26,971.53     $   3,406.50   $    7,821.74   $ 15,743.28 Annual Net Income=
  2030     41   $ 27,730.78 $                  $                               $ 27,730.78     $   3,502.40   $    8,041.93   $ 16,186.46 $                   509,204.87
  2031     42   $ 28,511.40 $                  $                               $ 28,511.40     $   3,600.99   $    8,268.31   $ 16,642.10
  2032     43   $ 29,314.00 $                  $                               $ 29,314.00     $   3,702.36   $   11,813.54   $ 13,798.10
  2033     44   $ 30,139.19 $                  $                               $ 30,139.19     $   3,806.58   $   10,367.88   $ 15,964.73 Total Annual Net Income =
  2034     45   $ 30,987.60    $               $                               $ 30,987.60     $   3,913.73   $   10,659.74   $ 16,414.13 $                   725,921.40
  2035     46   $ 31,859.90    $               $                               $ 31,859.90     $   4,023.91   $   10,959.81   $ 16,876.19
  2036     47   $ 32,756.76    $               $                               $ 32,756.76     $   4,137.18   $   11,268.33   $ 17,351.26 PV (Past & Future) of
  2037     48   $ 33,678.86    $               $                               $ 33,678.86     $   4,253.64   $   11,585.53   $ 17,839.69 Total Annual Net Income=
  2038     49   $ 34,626.92    $               $                               $ 34,626.92     $   4,373.38   $   11,911.66   $ 18,341.88 $                   744,925.29
  2039     so   $ 35,601.67    $               $                               $ 35,601.67     $   4,496.49   $   12,246.97   $ 18,858.21
  2040     51   $ 36,603.86    $               $                               $ 36,603.86     $   4,623.07   $   12,591.73   $ 19,389.06
  2041     52   $ 37,634.26    $          -    $                               $ 37,634.26     $   4,753.21   $   12,946.18   $ 19,934.87
  2042     53   $ 38,693.66    $          -    $                               $ 38,693.66     $   4,887.01   $   13,310.62   $ 20,496.03
  2043     54   $ 39,782.89    $               $                               $ 39,782.89     $   5,024.58   $   13,685.31   $ 21,073.00
  2044     55   $ 40,902.78    $               $                               $ 40,902.78     $   5,166.02   $   11,534.58   $ 24,202.17
  2045     56   $ 42,054.19    $          -    $                               $ 42,054.19     $   5,311.44   $   11,859.28   $ 24,883.46
  2046     57   $ 43,238.01    $          -    $                               $ 43,238.01     $   5,460.96   $   12,193.12   $ 25,583.93
  2047     58   $ 44,455.17    $               $                               $ 44,455.17     $   5,614.69   $   12,536.36   $ 26,304.12
  2048     59   $ 45,706.58    $               $                               $ 45,706.58     $   5,772.74   $   12,889.25   $ 27,044.58
  2049     60   $ 46,993.22    $               $                               $ 46,993.22     $   5,935.24   $   13,252.09   $ 27,805.89
  2050     61   $ 48,316.08    $               $                               $ 48,316.08     $   6,102.32   $   13,625.13   $ 28,588.62
  2051     62   $ 49,676.17    $               $                               $ 49,676.17     $   6,274.10   $   14,008.68   $ 29,393.39
  2052     63   $ 51,074.56    $               $                               $ 51,074.56     $   8,749.07   $   12,564.34   $ 29,761.15
  2053     64   $ 52,512.31    $               $                               $ 52,512.31     $   8,995.36   $   12,918.03   $ 30,598.92
  2054     65   $ 53,990.53    $               $                               $ 53,990.53     $   9,248.58   $   13,281.67   $ 31,460.28
  2055     66   $ 55,510.36    $          -    $                               $ 55,510.36     $   9,508.93   $   13,655.55   $ 32,345.89
  2056     67   $ 57,072.98    $               $                               $ 57,072.98     $   9,776.60   $   14,039.95   $ 33,256.43
  2057     68   $ 12,322.71    $          -    $                               $ 12,322.71     $     471.96   $    3,031.39   $ 8,819.37
  2058     69   $              $               $                               $               $              $               $
  2059     70   $              $               $                               $               $              $         -     $
  2060     71   $              $               $                               $               $              $               $
  2061     72   $              $          -    $                               $               $              $               $
  2062     73   s              s               s                               $           -   s              s               s        -
  2063     74   s              $               $                               $               $              s         -     $
  2064     75   $              $               s         -                     $               $              $               $
  2065     76   $              $               $         -                     $               $              $               $
  2066     77   $              $               $                               $               $              $               $
  2067     78   $              $               $                               $               $              $               $
  2068     79   $              $               $                               $               $              $               $
           Case 1:16-cv-00232-CKK                        Document 126-1             Filed 02/01/21   Page 19 of 76

                                     TABLE F-1

                         Tax Calculation for Baumhoer

                          Income     Federal   Indiana    Total        Tax
       Taxable Income     Quintile    ATR        Tax      Taxes    Adjustment
2011   $      6,149.65      1st        0.6       3.23      3.83    $      235.53
2012   $    28,905.69       2nd        7.7       3.23     10.93    $   3,159.39
2013   $    30,377.85       2nd        9.1       3.23     12.33    $   3,745 .59
2014   $    32,670.80       2nd         9        3.23     12.23    $   3,995.64
2015   $    33,768.06       2nd        9.2       3.23     12.43    $   4, 197.37
2016   $    33,608.64       2nd        9.4       3.23     12.63    $   4, 244.77
2017   $    33,608.64       2nd        9.4       3.23     12.63    $   4, 244. 77
2018   $    35,849.22       2nd        9.4       3.23     12.63    $   4, 527.76
2019   $    37,702.00       2nd        9.4       3.23     12.63    $   4, 761.76
2020   $    24,560.16       1st        0.6       3.23      3.83    $      940.65
2021   $    21,966.85       1st        0.6       3.23      3.83    $      841.33
2022   $    22,208.04       1st        0.6       3.23      3.83    $      850.57
2023   $    22,833.20       1st        0.6       3.23      3.83    $      874.51
2024   $    23,475.95       1st        0.6       3.23      3.83    $      899 .13
2025   $    24,136.80       1st        0.6       3.23      3.83    $      924.44
2026   $    24,816.25       1st        0.6       3.23      3.83    $      950.46
2027   $    25,514.83       1st        0.6       3.23      3.83    $      977.22
2028   $    26,233.07       2nd        9.4       3.23     12.63    $   3,313 .24
2029   $    26,971 .53      2nd        9.4       3.23     12. 63   $   3,406.50
2030   $    27,730.78       2nd        9.4       3.23     12.63    $   3,502.40
2031   $    28,511.40       2nd        9.4       3.23     12.63    $   3,600.99
2032   $    29,314.00       2nd        9.4       3.23     12.63    $   3,702 .36
2033   $    30,139.19       2nd        9.4       3.23     12.63    $   3,806.58
2034   $    30,987.60       2nd        9.4       3.23     12.63    $   3,913 .73
2035   $    31,859.90       2nd        9.4       3.23     12.63    $   4,023 .91
2036   $    32,756.76       2nd        9.4       3.23     12.63    $   4, 137.18
2037   $    33,678.86       2nd        9.4       3.23     12.63    $   4,253.64
2038   $    34,626.92       2nd        9.4       3.23     12.63    $   4,373.38
2039   $    35,601.67       2nd        9.4       3.23     12.63    $   4,496.49
2040   $    36,603.86       2nd        9.4       3.23     12.63    $   4,623.07
2041   $    37,634.26       2nd        9.4       3.23     12 .63   $   4, 753.21
2042   $    38,693.66       2nd        9.4       3.23     12.63    $   4,887.01
2043   $    39,782.89       2nd        9.4       3.23     12.63    $   5,024.58
2044   $    40,902.78       2nd        9.4       3.23     12.63    $   5,166.02
2045   $    42,054.19       2nd        9.4       3.23     12.63    $   5,311.44
2046   $    43,238.01       2nd        9.4       3.23     12.63    $   5,460.96
2047   $    44,455.17       2nd        9.4       3.23     12.63    $   5,614.69
2048   $    45,706.58       2nd        9.4       3.23     12 .63   $   5,772 .74
2049   $    46,993 .22      2nd        9.4       3.23     12.63    $   5,935 .24
2050   $    48,316.08       2nd        9.4       3.23     12.63    $   6,102.32
2051   $    49,676.17       2nd        9.4       3.23     12.63    $   6,274.10
2052   $    51,074.56       3rd       13.9       3.23     17.13    $   8,749.07
2053   $    52,512.31       3rd       13.9       3.23     17.13    $   8,995.36
2054   $    53,990.53       3rd       13.9       3.23     17.13    $   9,248.58
2055   $    55,510.36       3rd       13.9       3.23     17.13    $   9,508.93
2056   $    57,072.98       3rd       13.9       3.23     17.13    $   9,776.60
2057   $    12,322.71       1st        0.6       3.23      3.83    $      471 .96
2058   $          -                     0         0         0      $         -
2059   $          -                     0         0         0      $         -
2060   $          -                     0         0          0     $         -
2061   $          -                     0          0         0     $         -
2062   $          -                     0          0         0     $         -
2063   $          -                     0          0         0     $         -
2064   $          -                     0          0         0     $         -
2065   $          -                     0          0         0     $         -
2066   $          -                     0          0         0     $         -
2067   $           -                    0          0         0     $         -
2068   $           -                    0          0         0     $         -
             Case 1:16-cv-00232-CKK                     Document 126-1   Filed 02/01/21   Page 20 of 76

                  TABLE G-1


       Personal Consumption Calculation for Buamhoer


                                   Personal
                   Health &       Consumption Consumption   Children's
       Age    Taxable Income      Percentages Adjustment       Age
2011    22    $       6,747.39        29      $    1,956.74
2012    23    $      31,768.55        29      $    9,212.88
2013    24    $      33,398.01       27.4     $    9,151.06 Son Born
2014    25    $      35,942.64       22.4     $    8,051.15
2015    26    $      37,291.58       22.4     $    8,353.31
2016    27    $      37,383.84       22.4     $    8,373.98
2017    28    $      37,383.84       22.4     $    8,373.98
2018    29    $      39,876.10       22.4     $    8,93 2. 25
2019    30    $      41,937.00        20      $    8,387.40
2020    31    $      27,318.96       27.4     $    7,485.40
2021    32    $      22,541.85       27.4     $    6,176.47
2022    33    $      22,208.04       27.4     $    6,085.00
2023    34    $      22,833.20       27.4     $    6,256.30
2024    35    $      23,475.95       27.4     $    6,432.41
2025    36    $      24,136.80       27.4     $    6,613.48
2026    37    $      24,816.25       27.4     $    6,799.65
2027    38    $      25,514.83       27.4     $    6,991.06
2028    39    $      26,233.07       27.4     $    7,187 .86  ss -18
2029    40    $      26,971.53        29      $    7,821.74
2030    41    $      27,730.78        29      $    8,041.93
2031    42    $      28,511.40        29      $    8,268.31 Son - 18
2032    43    $      29,314.00       40.3     $   11,813 .54
2033    44    $      30,139.19       34.4     $   10,367.88
2034    45    $      30,987.60       34.4     $   10,659.74
2035    46    $      31,859.90       34.4     $   10,959.81
2036    47    $      32,756.76       34.4     $   11,268.33
2037    48    $      33,678.86       34.4     $   11,585.53
2038    49    $      34,626.92       34.4     $   11,911.66
2039    so    $      35,601.67       34.4     $   12,246.97
2040    51    $      36,603.86       34.4     $   12,591.73
2041    52    $      37,634.26       34.4     $   12,946.18
2042    53    $      38,693.66       34.4     $   13,310.62
2043    54    $      39,782.89       34.4     $   13,685.31
2044    55    $      40,902 .78      28.2     $   11,534.58
2045    56    $      42,054.19       28.2     $   11,859.28
2046    57    $      43,238.01       28.2     $   12,193.12
2047    58    $      44,455.17       28.2     $   12,536.36
2048    59    $      45,706.58       28.2     $   12,889.25
2049    60    $      46,993.22       28.2     $   13,252.09
2050    61    $      48,316.08       28.2     $   13,625 .13
2051    62    $      49,676.17       28.2     $   14,008.68
2052    63    $      51,074.56       24.6     $   12,564.34
2053    64    $      52,512.31       24.6     $   12,918.03
2054    65    $      53,990.53       24.6     $   13,281.67
2055    66    $      55,510.36       24.6     $   13,655.55
2056    67    $      57,072.98       24.6     $   14,039.95
2057    68    $      12,322.71       24.6     $    3,031.39
2058    69    $               .        0            0
2059    70    $               .        0            0
2060    71    $               .        0            0
2061    72    $               .        0            0
2062    73    $               .        0             0
2063    74    $               .        0             0
2064    75    $               .        0             0
2065    76    $               .        0             0
2066    77    $               .        0             0
2067    78    $               .        0             0
2068    79    $               .        0             0
        Case 1:16-cv-00232-CKK            Document 126-1   Filed 02/01/21   Page 21 of 76


          TABLE H-1


Calculation PV of Past Net Annual Loss


              Past Net        Present
              Annual          Value of
 Year          Loss           Past Lost
 2011     $   4,555.11    $   5,492.01
 2012     $  19,396.28    $  22,904.69
 2013     $  20,501.37    $  23,711.72
 2014     $  23,895 .85   $  27,069.29
 2015     $  24,740.90    $  27,450.12
 2016     $  24,765.09    $  26,911.81
 2017     $  24,765 .09   $  26,358.28
 2018     $  26,416 .09   $  27,537.22
 2019     $  28,787.84    $  29,392.38
 2020     $  18,892.91    $  18,892.91
  Sum=    $ 216,716.53    $ 235,720.42
Case 1:16-cv-00232-CKK   Document 126-1   Filed 02/01/21   Page 22 of 76


                            EXHIBIT IV

                             Date Chart

                     Life Expectancy
              National Vital Statistic Reports
         Department of Health and Human Services




                                   9
               Case 1:16-cv-00232-CKK             Document 126-1           Filed 02/01/21            Page 23 of 76



Date Chart                                     Baumhoer - Osen Jan 2021
                                                                         Active         Released
                      Days          DOB         Current       DOI        Duty          Active Duty   Ste~ Son            Son
January                       31          31          14            31            31           31            31                  31
February                      28          28                        28            28           28                 2              28
March                         31          17                        31            31           31                                31
April                         30                                    27            30           30                                30
May                           31                                                  31           31                                31
June                          30                                                   4           30                                30
July                          31                                                               31                                31
August                        31                                                               31                                31
September                     30                                                               30                                30
October                       31                                                                                                 31
November                      30                                                                                                 22
December                      31
                             365         76           14         117         155              273            33               326
                                       0.21         0.04       0.32         0.42             0.75          0.09              0.89
                                    1990.21      2021.04    2010.32      2008.42          2011. 75      2010.09           2013.89
   White                                                                                             Turn 18 SS       Turn 18 Son
       Male                          WL                                    LE                         2028.09          2031.89
       30.83                              67                                    47.9
                             WL =      36.17               Projected        78.73
                         Date =     2057.21                   Date =     2068.94

                                 Served =           3.33
                 Military Career - 20 years=       16.67    2028.42
                Case 1:16-cv-00232-CKK                           Document 126-1                  Filed 02/01/21               Page 24 of 76


 National Vita l
.S tatistics Ref2_o_r_ts_____i __
Vo l u m e 68, N u m b e r 7                                                                                                          Jun e 24, 201 9


U n ited States Life Ta b les , 201 7
by Elizabeth Arias, Ph . D . , and Jiaquan Xu, M . D . , D ivision of Vita l Statistics

Abstract                                                                          cohort life table requi res data ove r many years. It Is usually
                                                                                  not feasible to construct cohort life tables entirely on the basis
       Objectives-This report presents complete pe riod life tables               of observed data for real cohorts due to data un availability or
for the United States by race, H ispan ic o rigi n, and sex, based on             incompleteness ( 1 ). Fo r example, a life table representation of
age-specific dea h rates in 2017.                                                 the m ortality expe rie nce of a cohort of persons born in 1 970
       Methods-Data used to p repare the 201 7 life tables are                    would require the use of data projection techniques to estimate
201 7 final mortality statistics; July 1 , 20 1 7 popu lation estimates           deaths into the futu re (2,3) .
l:lased on the 201 0 decennial census; and 201 7 Med icare data                         Unlike the co ho life table. the period life ta ble does not
tor persons aged 66-99. The methodo logy used to esti mate he                     represent the mo rtality experience or an actual birth cohort.
llfe tables for the Hispanic populatlon remains unchanged from                    Rather, the perfod llfe table presents what would happen to a
that developed for the publication of life tab les by Hispanic origin             hypothetical cohort if I experienced throughou its entire life the
fo r data year 2006. The methodology used to estimate the 201 7                   mortality conditions of a particula r period in time. For example ,
life tables for all other g roups was first im plemented wit h data               a period Ii e table for 201 7 ass u mes a hypothetical cohort hat
year 2008.                                                                        Is subject throughout its l i fetime to the age-specific death rates
       Results-I n 201 7, the overall expectati on o l ife a birth                prevailing for the ac ual p o p ulati o n in 20 7. The pe riod life table
  ·ins 78.6 years, decreasing from 78.7 I n 201 6. Between 201 6                  may thus be characte rized as rendering a snapshot of current
and 201 7, life expec ancy at birth decreased b O year fo r                       mortality experience and snows he lon g-range lm plicat1ons o
males (76.2 to 76. 1 ) and did no chang e fo r females (81 .1 ) .                 a set of age-specific death ra es that prevailiid i n a given year. I n
Life expectancy a t birth dec reased b y 0 . 1 year for the white                 cnIs report. t h e erm Ille table refers only t o rhe period Ii e table
population (78.9 to 78.8) and the non-H ispan ic white population                 and not to the cohort l ife table.
(78.6 to 78 .5) between 20 1 6 and 20 1 7. Lite expectancy at birth                     Life tables can be classlfied In two ways according to he
did not change from 201 6 for the blac population (75.3}, the                     length of he age interval in wh ich data a e p resen ed. A complete
non-Hispanic black population (74 .9) , and the Hispanl                           life taole con ains data for every single year o age. An abridged
popufation (81 ,8).                                                               lif� table typically contains data by 5- or 1 0-year age intervals .
Keywords: life expectancy • su rvival • death rates • race • Hispanic             A complete life table can easily be aggregated I nto 5- or 1 0-year
origin                                                                            age groups (see Technica l Notes for instructions) . Other than the
                                                                                  decennial life tables , U.S. Ii e tab les based on data before 1 997
                                                                                  are abridged Ii e ables co nstructed by re ·erence to a standard
Introd ucti on                                                                    table ( 4) . This report p resents comp lete period life tables by
                                                                                  race. Hispanic origin , and sex .
      There are two types of life tab les. the cohort (or generation)
life table and the period (or current) life table. The cohort life
table presents the mortality expe rience of a particular birth
coho rt-all persons born in he year 1 900, fo r exam ple------from
                                                                                  Data and Meth ods
the moment of birth through consecutive ages i n successive                            The da a used to prepare the U.S. hie tables for 201 7
calendar years. Based on age-specific death rates observed                        are final num bers or deaths for the year 201 7; J u ly 1 , 201 7
through consecutive calendar years , the cohort life table reflects               population esti mates based o n the 201 0 decen nial census:
the mortality experience of an actual cohort f rom birth until no                 anCI age-specific death and population counts for Medicare
lives remain in the group. To prepare Iust a single complete                      beneficiaries aged 66-99 for the year 201 7 from the Centers for
                                                                                  Med icare & Medicaid Services. Data f om the Medicare program




                                                                                                                                           tm
                                           U .S . DE PARTME T OF eiEA - AND HUMAN SE RVIC ES
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                                                            ot1ona1 Vital Stotls 1cc SysTerr
                                 NCHS rei,ons caf! be downloaded from. ttos.//wv,w.cdc.aovlnchs/i,roducrs/lndtJi/.htm.
                      Case 1:16-cv-00232-CKK                             Document 126-1               Filed 02/01/21                 Page 25 of 76
 18         National Vital Statistics Reports , Vol. 68, No. 7, June 24, 2019

 Table 5. Life table for white males: United States , 2017
 Spreadsheet version available from: https:/lftp.cdc.gov/pub/Health_Stalistics/NCHS/Publications/NVSR/68_07/Table0S.xlsx.
                                                   Probability of     Number        Number dying      Person-years lived     Total number of
                                                  dying between     surviving to       between            between           person-years lived   Expectation of
                                                 ages xand x + 1       age x       ages x and x + 1   ages x and x + 1         above age x        life at age x

                Age (years)                             q,               I,               d,                  L,                    T,                 e,

   (H ... .. . . .. . .   ····· ·
                                ····· ·.            0.005273         100,000             527               99,536
                                                                                                           99,453
                                                                                                                               7,637,059
                                                                                                                               7,537,523
                                                                                                                                                      76.4
                                                                                                                                                      75.8
   1-2 . .. .... . ... ....... . . •....            0.000389           99,473             39
   2-3 .. . ... ....... .. ... ... . . ..           0.000273           99,434             27               99.420              7,438,070              74.8
   3-4 . . .......... . . .. .. .......             0.000199           99,407             20               99,397              7,338,650              73.8
   4-5 ..... . ...... . . ... . .. .....            0.000147           99,387             15               99,380              7,239,253              72.8
   ~ ......... . .. . ........ . ...               0.000143            99,373             14               99,365              7,139,873              71.8
   6-7 .. . ... ... ........... . ....             0.000126            99,358             12               99,352              7,040,507              70.9
   7~. · · · · · ·• ·· ············· · ·           0.000112           99,346              11               99,340              6,941,155              69.9
  8-9 . . ................ .......                 0.000100           99,335              10               99,330              6,841,815             68.9
  S-10 ..... .. . . . . . . .. . . ..... . .       0.000091           99,325               9               99,320              6,742,485             67.9
 10-11 ..... . .. . .......... .. . .              0.000090           99,316               9               99,311              6,643,165             66.9
 11-12 .. .. .. ... ...... .. ......               0.000105           99,307              10               99 ,302             6,543 ,853            65.9
 12-13 . ... .....      ·······     .. .. . ..     0.000145           99,296              14               99,289              6,444,552             64 .9
 13-14 .... . ... . ·•···········.                 0.000215           99,282              21               99,271              6,345,263             63 .9
 14-15 . ... .. •... . .... ........               0.000309           99,261              31               99,245              6,245,991             62.9
 15-16 . .. .. . ·•·· · · . .... . .. . ..         0.000412           99,230              41               99,209              6,146,746             61.9
 16-17 ... , . . . .. .. ......... ...             0.000520           99,189              52               99,163              6,047,537             61.0
 17-18 .. . .. .. . .. ...... . .......            0.000642           99,137              64               99,106              5,948,373             60.0
 18-19 ..... . ...•• . .. . ... . .....            0.000778           99,074              77               99,035              5,849,268             59 .0
 1S-20 ......... .... ..... ..... .                0.000921           98 ,997             91               98,951              5,750,233             58.1
 20-21 .. . . . .. ·· · · ···· · . .. . ...        0.001068           98,906             106               98,853             5,651,282              57.1
 21-22 . . ... • ............. .....               0.001209           98,800             119               98,740             5,552,429              56.2
 22-23 ......... .. .... . ... . ....              0.001330           98,680             131              98,615              5,453,689              55.3
 23-24 ... ...•..... . . . .........               0.001424           98,549             140              98,479              5,355,074              54.3
 24-25 ...... . .... , ... , .. , .....            0.001497           98,409             147              98,335              5,256 ,595             53 .4
 25--26 ..... .. .. . ... .. ... .. ....           0.001561           98,262             153              98,185              5,158,260              52.5
 26-27 .......... . . .. .... . . . . . .          0.001624           98,108             159              98 ,029             5,060,075              51.6
 27-28 . ..................... ..                  0.001682           97,949             165              97,866              4,962,046              50.7
 28-29 . . .. ........ . .......... .              0.001737           97,784             170              97,699              4,864,180              49.7
 2S-30 . .... . .. .. . .... ........ .            0.001792           97,614             175              97 ,527             4,766,481              48.8
30-31 . ... . . . . . . .. ............            0.001847           97 ,439            180              97,349              4,668,954              47.9
31-32 . . .. . ....... . .. . . . . . . .. .      0.001900            97,259            185               97,167              4,571,605              47.0
32-33 ...... . ........ ...... . ..               0.001952            97,075            190               96,980              4,474,438              46.1
33-34 ... ... .. . . . . .... , . . .....         0.002003           96,885             194               96,788              4,377,458             45.2
34- 35 .. ............•..•......                  0.002053           96,691             198               96,592              4,280,670             44 .3
35-36 . . .. . .... , . . . .... ... .. . .       0.002111           96,493             204               96,391              4,184,078             43.4
36-37. . ... ..... ..... . .. . . . ...           0.002174           96,289             209               96 ,184             4,087,688             42.5
37-38 . . ..... . ........ . ...... .             0.002233           96,079             215               95,972              3,991,503             41.5
38-39 . ... . . ....... .. . .. ..... .           0.002285           95,865             219               95,755              3,895,531             40.6
39-40 . ... .. . . .. .. .. . .. ... . .. .       0.002340           95,646             224               95,534              3,799,776             39.7
40-41 . ...... ... .. ...........                 0.002413           95,422             230               95 ,307             3,704,242             38.8
41-42 . ............ .. .... .... .               0 002516           95,192             239               95,072              3,608,935             37.9
42-43 .......... . . . ...... . .                 0.002649           94,952             252               94,827              3,513,863             37.0
43-44 .. . . ..•... . .. . . . ........           0.002811           94.701             266               94, 568             3,419,036             36 .1
44-45 . ..... ...... ...... ......                0.002999           94,435             283               94,293              3,324,469             35.2
45-46 . . ... .. . . .... . •..• . .... •         0.003203           94,151             302               94,001              3,230,176             34.3
46-47 .... . . . .. . ...... . .. .. . . .        0.003433           93,850             322               93 ,689             3,136,175             33.4
47-48 .. . . ... . . , •. ... ... •• ... .        0.003709           93,528             347               93 ,354             3,042,486             32.5
48-49 .. . ... . .. • .. . . . ... .. . .. .      0.004047           93,181             377               92,992              2,949,132             31 .6
4S-50 . ...... , ..... ......... . .              0.004445           92,804             413               92 ,597             2,856,140             30 .8
50-51 ..... .. . •.......... .. .. .              0.004874           92,391             450               92,166              2.763,542             29 .9
51-52 ...... . .. .. . ............               0.005331           91 ,941            490               91,696              2,671,377             29.1
52-53 ... . .. . .. . . . . . . ... . . .. . .    0.005844           91 ,451            534               91,183              2,579,681             28.2
53-54 ....... , . . ... .... ... ... .            0.006408           90,916             583               90,625              2.488,497             27.4
54-55 .... .. ...•. .. .. .. .. .....             0.007003           90,334             633               90 ,017             2,397,873             26 .5
55-56 ...... . .......... . ... .. .              0.007607           89,701             682               89,360              2,307,855             25 .7
56-57 .... . . , .. .. .. . • . ..... .. ,        0.008219           89,018             732               88,653              2,218,496             24,9
57-58 ......... . . . . .. ...... ...             0.008857           88,287             782               87,896              2,129,843             24 .1
58-59 .. .. ................... •                 0.009542           87,505             835               87,087              2,041 ,947            23.3
59-60 ... . ... .. ...... , .. , .....            0.010285           86,670             891               86 ,224             1,954,860             22.6
60-61 . ....... .. .. , . ,., .......             0.011098           85,778             952               85 ,303             1,868,635             21.8
                     Case 1:16-cv-00232-CKK                             Document 126-1                Filed 02/01/21                Page 26 of 76
                                                                                         National Vital Statistics Reports , Vol. 68, No. 7, June 24 , 2019       19

  Table 5. Life table for white males: United States, 2017-Con.
  Spreadsheet version available from: httpsJ/ftp.cdc.gov/pub/Health_Statistics/NCHS/Publications/NVSR/68_01/Table05.xlsx.

                                                   Probability of     Number        Number dying      Person-years lived     Total number of
                                                  dying between     surviving to       between            between           person-years lived   Expectation of
                                                 ages xand x + 1       age x       ages x and x + 1   ages x and x+ 1          above age x        life at age x
                 Age (years)                                 Qr          Ir               d,                  L,                    Tr                 e,

  61--£2 .. ....... . ... . .... .. ....             0.011952         84,827           1,01 4             84,320               1,783,333              21.0
  62-63 . . . ... ... . .... ... . ......            0.012814         83,813           1,074              83,276               1,699,013              20.3
  63-64 .... . . . •....... . ........               0.013657        82,739            1,130              82,174               1,615,738              19.5
  64-65 . ....... . ..... .. ........                0.014502        81,609            1,183              81,017               1,533,564              18.8
  65-66 .... . .... . ....... . ......               0.015384        80,425            1,237              79,807               1,452,547              18.1
  66-67 ....... . ................                   0.016444        79,188            1,302              78,537               1,372,741              17.3
  67-68 . .. .. . .. .... ............               0.017624        77,886            1,373              77,199               1,294,204              16.6
  68-69 ....... , ................                   0.018968        76,513            1,451              75,788               1,217,004              15.9
  69-70 .. ... .. . ......... .... .. .              0.020586        75,062            1,545              74,289               1,141 ,217             15.2
  70--71 ....... . ..•.. . .. .. ..•. ..             0.022109        73,517            1,625              72,704               1,066,927              14.5
  71-72 . ... ........ . ...... . . . ..             0.024359        71,891            1,751              71 ,016                994,223              13.8
  72-73 ...... . . ... ....... • .....               0.026347        70,140            1,848              69.216                 923,208              13.2
  73-74 ........ ... .. .. .........                 0.028810        68,292            1,967              67,308                 853,992              12.5
  74-75 ............... . . . ......                0.031309         66,325            2,077              65 ,286                786,683              11.9
  7~76 ........................                     0.034486         64,248            2,216              63 ,140                721,397              11.2
  76--77 .. ..... ...... . .... .. . . ..           0 038026         62,032            2,359              60,853                 658,257              10.6
  77-78 . . . ....... . ......... . ...             0.042286         59,674            2,523              58,412                 597,404              10.0
  78-79 .. . ... . •. .. . . . .. .. .. ....        0.046547         57,150            2,660              55,820                 538,992               9.4
  79-80 . .............. . ....... .                0.051534         54,490            2,808              53,086                 483,172               8.9
 80--81 ............ . ...... . .. . .              0.057008         51,682            2,946              50,209                 430,086               8.3
 81-82 ........ . ... .... . . . ....•              0.062923         48.736            3,067              47,202                 379,877               7.8
 82-83 ..... . .. . ........ ... ....               0.069911         45,669            3,193              44,073                 332,675               7.3
 83-84 ... . .. . .. . .. . •...... . ...           0.078099         42,476            3.317              40,818                 288,602               6.8
 84-85 ................ .. ... ...                  0.086754         39,159            3,397              37,460                 247,784               6.3
 85-86 ......... ... ..... . ......                 0.096549         35,762            3,453              34,035                 210,324               5.9
 86--87 . . . .... . .. .. ..... .. . ... .         0.106472         32,309            3,440              30,589                 176,289
 87-88 .. . .. .... .. . .... . .. .. .. .                                                                                                             5.5
                                                    0.119677         28,869            3,455              27,141                 145.700
 88-89 . . . .... .. .. . ..... ..... . .                                                                                                              5.0
                                                    0.134128         25,414            3,409              23,710                118,558
 89-90 . . .... ... ...............                 0.149846
                                                                                                                                                       4.7
                                                                     22,005            3,297              20,357                  94,849
 90--91 ............. . ......... .                                                                                                                   4.3
                                                   0.166829          18,708           3,121               17,14 7                 74,492
91-92 ........ .. . ............ .                 0.185047                                                                                           4.0
                                                                     15,587           2,884               14,145                  57,345              3.7
92-93 ..................... . ..                   0.204441          12,703           2,597               11,404                  43,200              3.4
93-94 .... .. . . .. .... . . .. . . ....          0.224919          10,106           2,273                8,969                  31,796              3.1
94-95 .... . .•.. . ... . ... ... .. . .           0.246354           7,833           1,930                6,868                  22,827              2.9
9~96 ..... .... .... . . . . .......               0.268590           5,903           1,586                5,110                  15,959              2.7
96--97 .. ... . . . . .. .. .. . ... . ....        0.291442           4,318           1,258                3,688                  10,849              2.5
97-98 ........................                     0.314700           3,059             963                2,578                   7,160              2.3
98--99 . ............... . ... . .. .              0.3381 42          2,096             709                1,742                   4,582              2.2
99-100 ......... ... ........ .. .                 0.361537           1,388             502                1.137                   2,840              2.0
100 and over ........ . .... . ....                1.000000             886             886                1.703                   1,703              1.9
SOURCE: NCHS. National Vital Statistics System, Mortality.
Case 1:16-cv-00232-CKK   Document 126-1   Filed 02/01/21   Page 27 of 76



                             EXHIBITV

            Army Enlisted Ranks and Promotions

                         Army-Portal.com




                                   10
11 /3/2020                                                   Army-Portal.com - Army Enlisted Ranks and Promotion Requirements
                      Case 1:16-cv-00232-CKK                            Document 126-1                      Filed 02/01/21              Page 28 of 76




         Home          Pay ana P~omct~c:--·s

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          Army Portal                                Army Enlisted Ranks and Promotion~
          Army-Porta l.com - you r                   The Army 1s the largest mil itary serv ice which translates to a high er demand for
          1nformatio1C resou·ce 'or ::ill            so ldiers at all leve ls and an increased need for Noncommissioned Officers (NCOs).
          thing5 Army '                              For those not familiar wit h t he Army promotion system, you may first want to
                                                     learn about TIS and TIG as we ll as the difference between Qrimacv. and seconda!Y
          Navigation                                 ~oromotion consideration .

                                                                                                             ['i> X




                    Popular Pages
             Enlistment Bonuses by~
                                                                                                                                                                 A
             Aan.Y. Ranks and Pay ~
             Armv. Enlisted Promotions
             Guide to loining the Armv.
                                                                                                                                                             i
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                                                         Army Enlisted Ranks and Promotion Requirements

                                                                                            Paygrade E-1
                                                                                          No Rank Ins ignia
                                                                                            Private (PVD

                                                    PVT Rank Description : The lowest rank 1n the Army is Private with the
                                                    paygrade of E· l. Privates do not have rank ins ignia to be wo rn on the military
                                                    uniform. It is the init ial starting rank for those attend ing bas ic combat training
                                                    (BCTI unless the soldier has prior co ll ege education or mil itary training.

                                                     PVT Promotion Requirements : No TIS o r TIC requ irements are needed for this
                                                     rank.




                                                                                            Pay"grade E-2
                                                                                                    .
                                                                                                        .

                                                                                            Private (PV2 )

                                                     PV2 Rank Des cripti on . The PV2 rank is a step up from Private (paygrade E· l )
                                                     but is st ill addressed as Private (not Private Second Class ). Completing the
                                                     Delayed Entry Prog ram (recently renamed Future Soldiers Program) can allow a
                                                     soldier to start th eir rr. ilitary service with t his rank , bypassing Private E-1. Prior
                                                     m il itary tra ini ng or college cred it can also all ow a soldier to enter service as a
                                                     PVZ .

                                                     PVZ Promotion Requirements : Automatic promotion with 6 months TIS or 4
                                                     months TIS with a waiver. Advanced Enlistment a:; an E-2 ~ -




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                                                         Army-Portal.corn - Army Enlisted Ranks and Promotion Requirements
                                     Case 1:16-cv-00232-CKK     Document 126-1 Filed 02/01/21 Page 29 of 76



                                                                                                                                                   Private First Class (PFC)

                                                                                           PFC Rank Description : For soldiers entering the Army as a Private E· 1, the
                                                                                           rank of Private First Class is usually earned at your first duty station after
                                                                                           completing basic combat training and advanced individual training. Some
                                                                                           outlier military occupational specialties can have training that lasts over a year
                                                                                           however, especially if it involves the Defense Language Institute (DU). Prior
                                                                                           military training or college credit can allow a soldier to j oin the Arm y
                                                                                           immediately with the rank of Private First Class.

                                                                                           PFC Promotion Requirements: Automatic promotion with 12 months TIS and
                                                                                           4 months TIG. With waiver, Six months TIS and two months TIG. Advanced
                                                                                           Enlistment as an E·3 P.Ossible.




                                                                                                                                                              Paygrade E-4




                                                                                                                         "
                                                                                                                    Specialist (SPC)

                                                                                           SPC Rank Description : After getting promoted to Specialist, the soldier may
                                                                                           increasingly be called upon to manage lower ranked soldiers and take on more
                                                                                           responsibility. Those with a four year college degree can enter the Army
                                                                                           immediately as a Spec ialist. See Adyanced En/1stment Oppoaunjtjes.
                                                                                                                                                                                                   Corporal (CPL)




                                                                                           CPL Rank Description : The rank of Corporal was established in 1775 with the
                                                                                           birth of the United States Army and is one of only two ranks (alon g with
                                                                                           Sergeant) to never disappear from the Noncommissioned Officer (N CO) Corps.
                                                                                           Although not as common today, the Corporal still fills the role as a leader of a
                                                                                           small team and is responsible for his team's training, personal appearance,
                                                                                           an d cleanliness. Serves as the base of the NCO ranks and receives a
                                                                                           Noncommissioned Officer Evaluation Report (NCOER).

                                                                                           SPC Promotion Requirements : Automatic promotion with 24 months TIS and
                                                                                           6 months TIG. With waiver, 1 8 Months TIS and 3 months TlG.

                                                                                           CPL Promotion Requirements . For advancement to Corporal most units
                                                                                           require the soldier to hold a leadership position. such as a team leader. A
                                                                                           promotion to Corporal can occur directly from Private First Class to Corporal
                                                                                           or laterally for Specialists.




                                                                                                                                                             Paygrade E·S




                                                                                                                                                           Sergeant (SGTI

                                                                                          SGT Rank Description : The rank of Sergeant is a sign ificant increase in
                                                                                          responsibility in which a soldier is usually placed in a leadersnip pos ition such
                                                                                          as team or squad leader. A Sergeant will often be ass igned sold iers that he or
                                                                                          she is directly responsible for and must counsel periodically on DA Form 4856.
                                                                                          Training, cleanliness , personal appearance, and accountab ility of subordinates
                                                                                          are the Sergeant's re spons ibility and reflects on the Sergeant's leadership
                                                                                          ability.

                                                                                          SGT Promotion Requirements : Primary Zone - Board appearance at 34
                                                                                          months TIS and six months TIG as an E-4. Earliest Promotion can occur is at
                                                                                          36 months TIS with at least eight months TIC.
                                                                                          Requirements for Secondary Zone - Board Appearance at 16 months TIS and
                                                                                          four months TIG. Earliest Promotion can occur is at 18 months TIS with six
                                                                                          months TIG.




                                                                                                                                                              Paygrade E·6




                                                                                                                                                        Staff Sergeant (SSC)

..... .. .. .-. -   .. .,...,...,_ , _ _ , .... ,,.," .,...,,..,"",..,ti,u""c- /o,-, li~t.o.rLf"l.r'nrn"ti,.....-. .... ht ..... l#.· - -t,..,....+-c:.-. ... 1;,...,..+ o ....... ,......,..+ ; ......... ......... ,...,...,..., ,,. i c- ~• 7? mnnth<: Tl~ \Airth mnnth<: Tl~ ~t thP p,;:iirti   ?/Ft
11/3/2020                                                     Army-Portal.com - Army Enlisted Ranks and Promotion Requirements
                     Case 1:16-cv-00232-CKK                              Document 126-1                     Filed 02/01/21                  Page 30 of 76
                                                      SSG Rank Description : The rank of Staff Sergeant is associated with an
                                                      increasing level of lead ership and responsibil ity, often being assigned as a
                                                      Squad and/o r Section leader. The Staff Sergeant serves as a mentor for new
                                                      Sergeants and is expected to be more experienced and able to lead soldiers
                                                      more effectively than newly promoted NCOs. Often, the Staff Sergeant is
                                                      directly responsible for Privates , Speciali sts , and lower ranked NCOs. The Staff
                                                      Sergeant must conduct per iodic Noncommissioned Officer Evaluation Reports
                                                      (NCOERs) for subordinate NCOs and mentor them for success. As with any
                                                      leadersh ip rank, t he accountabil ity, appearance, and training of subordinates
                                                      reflects on the Staff Sergeant's leadership ability and may be disciplined for
                                                      the m isconduct of subordinates if their leadersh ip is found to be lacking.

                                                      SSG Promotion Requirements : Primary Zone - Board appearance at 72
                                                      months TIS and eight months TIG. Earliest Promotion can occur is at 72
                                                      months TIS with l O months TIG.
                                                      Requirements for Secondary Zone - Board appearance at 46 months TIS wi•h
                                                      five months TIG. Promotion can occur at 48 months TIS with seven months
                                                      TlG at the earl iest.




                                                                                               Paygrade E-7




                                                                                        Sergeant First Class (SFC)

                                                      SFC Rank Description : The rank of Sergeant First Class is olten assigned as a
                                                      platoon sergeant who ass ists the platoon lead er and leads the platoon in their
                                                      absence. Also common ly ass igned as a section Noncommissioned Officer in
                                                      Charge (NCOIC). Usually placed in charge of Staff Sergeants and Sergeants and
                                                      often must delegate authority to complete the mission by assigning authority
                                                      to lowe r ranked NCOs. Often directs subordinate NCOs to be in charge of
                                                      Privates and Specialists and conduct periodic counselings of their assigned
                                                      soldiers while the SFC counsels the NCO. A Se rgeant First Class is the first
                                                      NCO rank to be considered a senior NCO.

                                                      SFC Promotion Requirements : Primary Zone consideration starts to occur at
                                                      around 3S months TIC as an E-6.
                                                      Requirements for Secondary Zone - varies based on the needs of the Army
                                                      but for 2010 required a m inimum of 23 months TlG as an E·6. The Sergeant
                                                      First Class board memorandum of instruction (M OI) has not been released for
                                                      2011 as of early September. Last year's board occurred in February.




                                                                                               Paygrade E-8




                                                                 Master Sergeant (MSG)                             First Sergean t (1 SC)

                                                      MSC Rank Description : The Master Sergeant serves as a principle staff NCO at
                                                      the :>attalion and higher leve ls. Although not assigned with the same amount
                                                      of leaders hip responsibility as the First Sergeant, the Master Sergeant still
                                                      effectively leads soldiers d irectly under his charge. It is still app ropriate to
                                                      address a Master Sergeant as "Sergeant" when speaking to them although
                                                      some may prefer to be addressed as "Master Sergeant. "

                                                      1 SG Rank Description : The First Sergeant is an integral part of a successfully
                                                      functi oning company leve l unit. They are charged w ith holding format ions ,
                                                      directing the platoon sergeants, and advising the commander of the company.
                                                      They also assist in the training of all enlisted sold iers. When speaking to a
                                                      First Sergeant , address them as "First Sergeant. "

                                                      MSG Promotion Requirements : Primary Zone consideration starts at around 41
                                                      months.
                                                      Requirements for Secondary Zone -varies ::iased on t he needs of the Army but
                                                      usually requ ires 30 months TIC as a mi nimum for cons ideration.

                                                       1 SC Promotion Requirements : In addition to the requ ired TIS and TIG for the
                                                       Master Sergeant, the First Sergeant must be filli ng a slotted role as First
                                                       Sergeant of a un it.




                                                                                                Paygrade E-9



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11/3/2020                         Anny-Portal.com - Army Enlisted Ranks and Promotion Requirements
            Case 1:16-cv-00232-CKK         Document 126-1                 Filed 02/01/21             Page 31 of 76


                                            i
                                     Sergeant Major (SGM)                Com mand Sergeant Major (CSM)

                           SGM Rank Description : The Sergeant MaJor and Command Sergeant Majo r
                           distinction is similar to MSG vs. 1SG . The Sergeant Major is the principle staff
                             CO at l evels higher than the banalion. Although given less leadership
                           responsibility than a CSM, a Sergeant Major still exercises leadership for those
                           placed directly under their cha rge.

                           CSM Rank Description : The Command Sergeant Major advises th e unit
                           commander and gives recommendations when appropriate. A CSM also ensures
                           pol icies and standards are being met, such as for training, appearance,
                           performance. and the conduct of en li sted soldiers.

                           SGM Promotion Requirements: Must have l 0 years 115 minimum.
                           Primary Zone cons ideration usually starts at 34 months 11G.
                           Requ irements for Secondary Zone -varies based on the needs of the Army but
                           usually requ ires 24 months TIC minimum for consideration.

                           CSM Promotion Requirements : In add ition to the required TIS and TIG for the
                           Sergeant Major, a Command Sergeant Major must be filling a slotted CSM
                           position in a battalion or high level unit.




                                                              ' 'i '"'
                                                   Sergeant Ma.ior of the Army (SMA)

                           SMA Rank Descri ption : Sergeant Major of the Army is held ,y a single person
                           at all times. The current Sergeant Major of the Army, sworn in on March l st,
                           2011, is Raymond F. Chandler Ill. The Se rgeant Major of the Army is the top
                           enl isted rank charged with oversee ing all Noncommissioned Officers and serves
                           as the senior enlisted advisor and consultant for the Chief of Staff of the Army
                           (4 Star General position).




                           Time in Service / Time in Grade

                           Army promotions are comroll eo by time in service (TI S) and ti me in grade (TIG).
                           Time in service is the total accu mulated military service of the soldier and time in
                           grade i s the amount of service in their current paygrade. 11G and 115 is used in
                           the table above to describe promotion criteri a. Note that 115 and TIG are the base
                           requ irements. Variations within the Army start to occur for promotions to E·S and
                           up as the sold ier's military occupational specialty (MOS) will start to control
                           promotion potential based on NCO positions that need to be filled for that specific
                           MOS but can never be below base TIS/TIG req uirements (wa ivers are possible but
                           have limits as well).
11/3/2020   Case 1:16-cv-00232-CKK     Document
                                Army-Portal.com        126-1RanksFiled
                                                - Army Enlisted         02/01/21
                                                                  and Promotion         Page 32 of 76
                                                                                Requirements

                                Difference between Primary Zone and Secondary Zone Promotions

                                For promotion to E·S and above, there is no longer automatic promotion. The only
                                exception is for promotion to E-5 for Star MOSs (those military occupational
                                specialties that lack enough promotable E-4s to fill the E-5 mann ing requirements).
                                Excluding Star MOSs, promotion to E·S through E-9 involves a board process. The
                                Primary Zone is the regular timeline in which a soldier can be cons idered for
                                promotion at a promotion board. For soldiers without a history of misconduct or
                                poor duty performance, they should not be denied the opportunity to appear
                                before the promotion board 1f they qualify for Primary Zone cons ideration in most
                                cases. Secondary Zone cons ideration is re servec for exceptional soldiers that stand
                                out and are deemed worthy of being cons idereo for promotion at an earlier
                                timeframe than most soldiers . However, the recent demand for Army NCOs has
                                often meant that a greater proportion of sold iers are all owed to be considered for
                                promotion under the secondary zone.




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Case 1:16-cv-00232-CKK   Document 126-1   Filed 02/01/21   Page 33 of 76
Case 1:16-cv-00232-CKK   Document 126-1   Filed 02/01/21   Page 34 of 76
Case 1:16-cv-00232-CKK   Document 126-1   Filed 02/01/21   Page 35 of 76
Case 1:16-cv-00232-CKK   Document 126-1   Filed 02/01/21   Page 36 of 76
Case 1:16-cv-00232-CKK   Document 126-1   Filed 02/01/21   Page 37 of 76
Case 1:16-cv-00232-CKK   Document 126-1   Filed 02/01/21   Page 38 of 76
Case 1:16-cv-00232-CKK   Document 126-1   Filed 02/01/21   Page 39 of 76
Case 1:16-cv-00232-CKK   Document 126-1   Filed 02/01/21   Page 40 of 76
Case 1:16-cv-00232-CKK   Document 126-1   Filed 02/01/21   Page 41 of 76
Case 1:16-cv-00232-CKK   Document 126-1   Filed 02/01/21   Page 42 of 76
Case 1:16-cv-00232-CKK   Document 126-1   Filed 02/01/21   Page 43 of 76
Case 1:16-cv-00232-CKK   Document 126-1   Filed 02/01/21   Page 44 of 76
Case 1:16-cv-00232-CKK   Document 126-1   Filed 02/01/21   Page 45 of 76
Case 1:16-cv-00232-CKK   Document 126-1   Filed 02/01/21   Page 46 of 76
Case 1:16-cv-00232-CKK   Document 126-1   Filed 02/01/21   Page 47 of 76
Case 1:16-cv-00232-CKK   Document 126-1   Filed 02/01/21   Page 48 of 76
Case 1:16-cv-00232-CKK   Document 126-1   Filed 02/01/21   Page 49 of 76
Case 1:16-cv-00232-CKK   Document 126-1   Filed 02/01/21   Page 50 of 76
Case 1:16-cv-00232-CKK   Document 126-1   Filed 02/01/21   Page 51 of 76
Case 1:16-cv-00232-CKK   Document 126-1   Filed 02/01/21   Page 52 of 76
Case 1:16-cv-00232-CKK   Document 126-1   Filed 02/01/21   Page 53 of 76
Case 1:16-cv-00232-CKK   Document 126-1   Filed 02/01/21   Page 54 of 76
Case 1:16-cv-00232-CKK   Document 126-1   Filed 02/01/21   Page 55 of 76
Case 1:16-cv-00232-CKK   Document 126-1   Filed 02/01/21   Page 56 of 76
Case 1:16-cv-00232-CKK   Document 126-1   Filed 02/01/21   Page 57 of 76
Case 1:16-cv-00232-CKK   Document 126-1   Filed 02/01/21   Page 58 of 76
Case 1:16-cv-00232-CKK   Document 126-1   Filed 02/01/21   Page 59 of 76
Case 1:16-cv-00232-CKK   Document 126-1   Filed 02/01/21   Page 60 of 76
Case 1:16-cv-00232-CKK   Document 126-1   Filed 02/01/21   Page 61 of 76
Case 1:16-cv-00232-CKK   Document 126-1   Filed 02/01/21   Page 62 of 76
Case 1:16-cv-00232-CKK   Document 126-1   Filed 02/01/21   Page 63 of 76
Case 1:16-cv-00232-CKK   Document 126-1   Filed 02/01/21   Page 64 of 76
Case 1:16-cv-00232-CKK   Document 126-1   Filed 02/01/21   Page 65 of 76
Case 1:16-cv-00232-CKK   Document 126-1   Filed 02/01/21   Page 66 of 76
Case 1:16-cv-00232-CKK   Document 126-1   Filed 02/01/21   Page 67 of 76
Case 1:16-cv-00232-CKK   Document 126-1   Filed 02/01/21   Page 68 of 76
Case 1:16-cv-00232-CKK   Document 126-1   Filed 02/01/21   Page 69 of 76
Case 1:16-cv-00232-CKK   Document 126-1   Filed 02/01/21   Page 70 of 76
Case 1:16-cv-00232-CKK   Document 126-1   Filed 02/01/21   Page 71 of 76
Case 1:16-cv-00232-CKK   Document 126-1   Filed 02/01/21   Page 72 of 76
Case 1:16-cv-00232-CKK   Document 126-1   Filed 02/01/21   Page 73 of 76
Case 1:16-cv-00232-CKK   Document 126-1   Filed 02/01/21   Page 74 of 76
Case 1:16-cv-00232-CKK   Document 126-1   Filed 02/01/21   Page 75 of 76
Case 1:16-cv-00232-CKK   Document 126-1   Filed 02/01/21   Page 76 of 76
